                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                            DOCKET NO. 3:97-CR-184-20-FDW


 UNITED STATES OF AMERICA,                      )
                                                )
        vs.                                     )
                                                )
 VERLIE JAMES PATTERSON, JR,                    )                     ORDER
                                                )
               Defendant.                       )
                                                )

       THIS MATTER is before the Court on Defendant’s pro se motion for “further reduction” of

his sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine sentencing guidelines.

Defendant’s motion is DENIED for the reasons stated in the Court’s two prior Orders (Doc. Nos.

680, 681 & 687).

       IT IS SO ORDERED.

                                               Signed: July 7, 2009




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